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IN RE: LIFE HELP BUILDING-EMPLOYMENT OF BROWN AND ASSOCIATES

Whereas, this Board has previously authorized Mills and Mills Architect, Greenville, MS,
to prepare base line plans and specifications for construction of a new Life Help Building, with the
understanding that architectural services and feés would be limited to the agreed amount unless grant
funding is received for actual construction of such building, and

Whereas, Mills and Mills Architect recommended that the Board secure the services of a
grant writer to pursue funding for such project and

Whereas, a motion was offered by Supervisor Rice, seconded by Supervisor Dickerson to
employ Brown and Associates for purposes of preparing an application for grant funding for such
Life Help Building, subject, however, to review by the Board Attortiey of the proposed contract of
Brown and Associates. The vote on such motion was as follows:

Supervisor Donald voted “Nay”
Supervisor Rice voted “Aye”
Supervisor Holmes voted “Nay”
Supervisor Clark voted “Aye”
Supervisor Dickerson voted “Aye”

The President declared the motion carried.

SO ORDERED, this the 21st day of March, 2016.

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PRESIDENT

IN RE: INTERNAL AUDIT — RECISION OF MOTION

WHEREAS, on March 7, 2016, a motion was made to engage Thompson CPA, PLLC, for
Phase 1 of an internal audit and assessment of County government at an initial cost of $16,000.00,
and

WHEREAS, Supervisor Anthony Clark has indicated his desire to reconsider such motion
and to rescind his affirmative vote thereon,

NOW, THEREFORE, on motion of Supervisor Clark, seconded by Supervisor Holmes, and
thereafter approved, the motion of March 7, 2016, to engage Thompson CPA, PLLC, for Phase 1 of
an internal audit and assessment of County government at ani initial cost of $16,000.00 is hereby
rescinded, and no such engagement shall be had or made without further order of this Board. It is
specifically noted that the motion of March 7, 2016, referred to above was not reduced to writing as
part of the minutes of this Board; that no order was executed by the, President or entered into the

minutes of this Board; that no engagement letter or contract was signed atid executed in regard to
this matter, and that the meeting of March 7, 2016, was recessed to this date anid not adjourned; and
that accordingly, no contractual obligation was or is in place which could cause harm or detriment

to any person or firm.

The vote on such motion to rescind was as follows:

ER COUNTY
STATE-OF-MISS., SUNFLOW
Supervisor Donald voted “Aye” CERTIFIED A TRUE co
Supervisor Rice voted “Nay” 53. ;
Supervisor Holmes voted “Aye” APR \? 2011
Supervisor Clark voted “Aye”

CHANCERY CLERK
Supervisor Dickerson voted “Nay” GLORI INTOSH, N i
cL. i / awe

BY

The President declared the motion carried.

SO ORDERED, this the 21st day of March, 2016.

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998
IN RE: INTERNAL CONTROL REVIEW - EMPLOYMENT OF AUDIT FIRM
On motion of Supervisor Rice, seconded by Supervisor Dickerson, and thereafter approved,

the Board voted to employ an audit firm to do an internal control review. The vote on said motion
was as follows;

Supervisor Donald Voted “Nay”
Supervisor Rice Voted “Aye”
Supervisor Holmes Voted “Nay”
Supervisor Clark Voted “Aye”
Supervisor Dickerson Voted “Aye”

The President declared the motion carried.

SO ORDERED, this the 16th day of February, 2016.

IDENT
IN RE: BRIDGERS & GOODMAN - FINANCIAL STATEMENTS
On motion of Supervisor Dickerson, seconded by Supervisor Rice, and thereafter approved,

the Board voted to have the County’s audit firm, Bridgers & Goodman, to appear before a meeting
of the Board to explain the financial statements presented to the Board. The vote on said motion was

as follows;
Supervisor Donald Voted “Nay”
Supervisor Rice Voted “Aye”
Supervisor Holmes Voted “Aye”
— Supervisor Clark Voted “Aye”
Supervisor Dickerson Voted “Aye”

The President declared the motion carried.
SO ORDERED, this the 16th day of Febru

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/ PRESIDENT

IN RE: ABE HUDSON - NON-RENEWAL OF CONTRACT

WHEREAS, this Board previously had a contract with Abe Hudson for consulting services,
and said contract has now expired,

NOW, THEREFORE, on motion of Supervisor Dickerson, seconded by Supervisor Holmes,
and thereafter passed, the Board declined to renew the consulting contract with Abe riudson. The
vote on said motion was as follows;

Supervisor Donald Voted “Nay” OF MSS., SUNFLOWER COUNTY
Supervisor Rice Voted “Aye” CERTIFIED A TRUE COPY
Supervisor Holmes Voted “Aye” :
Supervisor Clark Voted “Aye” APR 1% ait

4 Supervisor Dickerson Voted “Aye”

GLO Wye? oc CLERK
The President declared the motion carried. oa \W C.

SO ORDERED, this the 16th day of February, 2016.

